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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-528V
                                          UNPUBLISHED


    THOMAS LAHA,                                                Chief Special Master Corcoran

                         Petitioner,                            Filed: September 24, 2021
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Influenza (Flu) Vaccine; Shoulder
                                                                Injury Related to Vaccine
                         Respondent.                            Administration (SIRVA)


Renee J. Gentry, Vaccine Injury Law Clinic, George Washington University of Law,
Washington, DC, for Petitioner.

Voris Edward Johnson, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES 1

       On April 29, 2020, Thomas Laha filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq. 2 (the
“Vaccine Act”). Petitioner alleges that he suffered shoulder and arm pain as a result of his
influneza vaccination on October 5, 2018. Petition at 1. The case was assigned to the
Special Processing Unit of the Office of Special Masters.

       On July 15, 2021, a ruling on entitlement was issued, finding Petitioner entitled to
compensation for Shoulder Injury Related to Vaccine Administration (“SIRVA”). On
September 23, 2021, Respondent filed a proffer on award of compensation (“Proffer”)
indicating Petitioner should be awarded $137,140.93 (consisting of $132,500.00 for pain
and suffering and $4,640.93 for past unreimbursed expenses). Proffer at 1. In the Proffer,

1  Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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Respondent represented that Petitioner agrees with the proffered award. Id. Based on
the record as a whole, I find that Petitioner is entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $137,140.93 (consisting of $132,500.00 for pain and suffering and
$4,640.93 for past unreimbursed expenses) in the form of a check payable to
Petitioner. This amount represents compensation for all damages that would be available
under Section 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision. 3

IT IS SO ORDERED.


                                         s/Brian H. Corcoran
                                         Brian H. Corcoran
                                         Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice

renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS
__________________________________________
                                           )
THOMAS LAHA,                               )
                                           )
                  Petitioner,              )
                                          )   No. 20-528V (ECF)
v.                                        )   Chief Special Master Corcoran
                                          )
SECRETARY OF HEALTH                       )
AND HUMAN SERVICES,                       )
                                          )
                  Respondent.             )
__________________________________________)

                  RESPONDENT’S PROFFER ON AWARD OF DAMAGES

         On July 13, 2021, respondent, the Secretary of Health and Human Services, filed his Rule

4(c) Report conceding entitlement to compensation in this matter alleging a Shoulder Injury

Related to Vaccine Administration (“SIRVA”). On July 15, the Court entered its Ruling on

Entitlement, finding petitioner Thomas Laha entitled to Vaccine Act compensation. Respondent

now proffers that petitioner receive a compensation award consisting of a lump sum of

$137,140.93 in the form of a check payable to petitioner, Thomas Laha. 1 This amount consists

of $132,500.00 for pain and suffering and $4,640.93 for past unreimbursed expenses, and

represents compensation for all elements of compensation under 42 U.S.C. § 300aa-15(a) to

which petitioner is entitled. 2

         Petitioner agrees with the proffered award of $137,140.93. 3


1
    Petitioner is a competent adult. No guardianship is required.
2
  Should petitioner die prior to entry of judgment, respondent would oppose any award for
future medical expenses, future lost earnings, and future pain and suffering, and the parties
reserve the right to move the Court for appropriate relief.
3
  This proffer does not include any award for attorneys’ fees and costs that may be awarded
pursuant to 42 U.S.C. § 300aa-15(e).
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                                          Respectfully submitted,

                                          BRIAN M. BOYNTON
                                          Acting Assistant Attorney General

                                          C. SALVATORE D’ALESSIO
                                          Acting Director
                                          Torts Branch, Civil Division

                                          HEATHER L. PEARLMAN
                                          Deputy Director
                                          Torts Branch, Civil Division

                                          LARA A. ENGLUND
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          s/Voris E. Johnson, Jr.
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Dated: September 23, 2021




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